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IN THE UNITED sTATEs DISTRICT CoURT 0 0 aj 7
FoR THE WESTERN DISTRICT oF TENNESSEE 540 `\\.
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1). RUIs, ) /9./2.»>; <§r;<}g»“€’§@
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Plaintiffs, )
)
v. ) No. 04-1235 T/An
)
I)EPUTY sHEruFF DANNY )
BRoWNING, et ai., )
)
Defendants. )

 

ORDER ASSESSING FEES AND EXPENSES

 

On July Zl, 2005, the Court entered an Order Granting Defendants’ l\/[otion to Compel. In
that Order, the Court found that “Plaintiffs should be required to pay reasonable expenses,
including attomey’s fees, to Defendants.” Ruis v. Browning, Order Granting:,r Motion to Compel,
No. 04-1235 (W.D. Tenn. July 21, 2005). In accordance therewith, defense counsel submitted an
affidavit detailing the fees and expenses incurred in the preparation and filing of the motion to
compel The Court has reviewed the affidavit of Brandon O. Gibson and concludes that counsel’s
hourly rate and counsel’s listing of fees and expenses are reasonable Therefore, the Court
approves Defendants’ request for fees and expenses, and Plaintiffs are ordered to pay Defendants’

counsel $250.00 within l 5 days of entry of this Order.

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S. THOM_AS ANDERSON
UNITED STATES l\/IAGISTRATE JUDGE

lT IS SO ORDERED.

Dat@r La;w/'§F/ 2005/

This document entered on the docket sheet ln compliance l

with Flule 58 and,'or_79 (a) FRCP on fla 123 - 05

 

Notice of Distribution

This notice confirms a copy of the document docketed as number l6 in
case l:04-CV-01235 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

